
443 S.E.2d 160 (1994)
Albert Justin LAWRENCE
v.
COMMONWEALTH of Virginia.
Record No. 931539.
Supreme Court of Virginia.
April 15, 1994.
Elizabeth Dashiell Scher (Morchower, Luxton and Whaley, on brief), for appellant.
Margaret Ann B. Walker, Asst. Atty. Gen. (James S. Gilmore, III, Atty. Gen., on brief), for appellee.
*161 Present: All the Justices.
PER CURIAM.
In this case, we awarded appellant an appeal from the judgment of the Court of Appeals holding that the trial court did not err in ruling (1) that the appellant consented to a search of his person for the purpose of determining whether he possessed any illegal narcotics, and (2) that he did not withdraw that consent during the course of the search. Lawrence v. Commonwealth, 17 Va.App. 140, 435 S.E.2d 591 (1993).
We have considered the questions, and for the reasons stated in the opinion of the Court of Appeals, we will affirm the judgment below.
Affirmed.
